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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


  UNITED STATES OF AMERICA,
                                                   CR21-18-BLG-SPW
                       Plaintiffs,

 vs.                                                ORDER


 KELLY EDWARD VAUGHN,

                       Defendant.


       Upon the United States' Motion to Dismiss Indictment with Prejudice (Doc.

24), and for good cause appearing,

       IT IS HEREBY ORDERED that the Indictment in the above-entitled cause


is DISMISSED WITH PREJUDICE.


       The Clerk of Court is directed to notify counsel of the making of this Order.

       DATED this Q<^^day of December, 2021.


                                       ^USAN P. WATTERS
                                       U. S. DISTRICT JUDGE
